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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 METRO CARDIOVASCULAR
 CONSULTANTS, LTD., individually and                      No. 1:19-cv-01509
 as the representatives of a class of
 similarly situated persons and entities,
                                                      Honorable John R. Blakey
        Plaintiff,

 v.

 NEW LASER SCIENTIFIC, INC.,

        Defendant.


                     PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT


To the Clerk of the U.S. District Court for the Northern District of Illinois

       Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, Plaintiff METRO

CARDIOVASCULAR CONSULTANTS, LTD. requests that the Clerk enter the default of

Defendant, NEW LASER SCIENTIFIC, INC., for failure to plead or otherwise defend as

provided by the Federal Rules of Civil Procedure as appears from the affidavit of James C.

Vlahakis, Esq. attached hereto.


Dated: April 19, 2019                              Respectfully submitted,
                                                   /s/ James C. Vlahakis
                                                   James C. Vlahakis
                                                   Sulaiman Law Group, Ltd.
                                                   2500 South Highland Avenue, Suite 200
                                                   Lombard, Illinois 60148
                                                   Telephone: 630-575-8181
                                                   Fax: 630-575-8188
                                                   Email: jvlahakis@sulaimanlaw.com
                                                   Counsel for Plaintiff



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                                   Certificate of Service

       The undersigned, attorney for Plaintiff, certifies that on April 19, 2019, he caused a
copy of the foregoing PLAINTIFF’S NOTICE OF MOTION, to be served by U.S. mail,
postage prepaid, on:

                                 New Laser Scientific, Inc.
                                   c/o Registered Agent
                                     Kelly F. Connor
                                    2504 Cranston Dr.
                                  Escondido, CA 92025



                                                             /s/ James C. Vlahakis
                                                            James C. Vlahakis, Esq.




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